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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE GOOGLE RTB CONSUMER                          Case No. 21-cv-02155-YGR (VKD)
                                         PRIVACY LITIGATION
                                   8
                                                                                            ORDER RE MARCH 27, 2023
                                   9                                                        DISCOVERY DISPUTE RE
                                                                                            HYPERLINKED DOCUMENTS
                                  10
                                                                                            Re: Dkt. No. 464
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiffs and defendant Google LLC (“Google”) ask the Court to resolve a dispute

                                  14   regarding plaintiffs’ request for production of documents hyperlinked to other documents that

                                  15   Google has already produced. Dkt. No. 464. The Court deems this matter suitable for resolution

                                  16   without oral argument. Civil L.R. 7-1(b).

                                  17          Plaintiffs ask the Court to order Google to produce the documents associated with 338

                                  18   hyperlinks that plaintiffs have identified in 51 “parent” documents, most of which are also

                                  19   deposition exhibits. Dkt. No. 464 at 1. Plaintiffs explain that Google employees make extensive

                                  20   use of hyperlinks when communicating by email. They say that the hyperlinks they have selected

                                  21   are embedded in documents that are highly relevant and associated with key witnesses in the case.

                                  22   Id. at 2. Plaintiffs further explain that they do not request all hyperlinks in all documents produced

                                  23   by Google, but have been selective in requesting the specific hyperlinked documents that appear to

                                  24   be the most relevant. Id.

                                  25          Google objects to production of the 338 hyperlinked documents. It argues that plaintiffs’

                                  26   demand is inconsistent with this Court’s November 2, 2021 order, which states: “The parties

                                  27   should consider reasonable requests for production of hyperlinked documents on a case-by-case

                                  28   basis. Such requests should not be made as a matter of routine.” Id. at 5 (citing Dkt. No. 116 at
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                                   1   5). Google also questions plaintiffs’ need for the hyperlinked documents and plaintiffs’ showing

                                   2   of relevance. Id. at 5-6. Finally, Google notes that some of the hyperlinks may not link to

                                   3   documents, but to internal tools. Id. at 6. However, Google notes that it has proposed a

                                   4   compromise to resolve this dispute:

                                   5                  Google has agreed to investigate each of the requested hyperlinks
                                                      and to identify any linked documents that were already produced (by
                                   6                  Bates number) or determined to be privileged (by privilege log entry
                                                      number). Upon completion of that process, the Parties can then
                                   7                  confer further to determine the extent of any remaining dispute.
                                   8   Id. at 6-7.

                                   9           Having considered the parties’ joint submission, the Court finds that plaintiffs have made a

                                  10   reasonable request for production of a specific set of hyperlinked documents, rather than an

                                  11   indiscriminate request for all hyperlinked materials, and have provided an adequate justification

                                  12   for these documents. Because plaintiffs’ demand encompasses only selected hyperlinks in 51
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                                  13   documents, Google will not suffer any undue burden in complying with this demand.

                                  14   Accordingly, the Court orders as follows:

                                  15           Google shall investigate each of the 338 requested hyperlinks. It shall identify by Bates

                                  16   number any linked documents that have already been produced, and shall identify by privilege log

                                  17   entry number any linked documents that have been withheld as privileged or protected material.

                                  18   For the remaining hyperlinks, Google must produce all non-privileged hyperlinked documents to

                                  19   plaintiffs. However, Google is not required to produce any linked items that are not documents,

                                  20   such as internal tools. For any such items, Google shall advise plaintiffs that the hyperlink does

                                  21   not link to a document.

                                  22           IT IS SO ORDERED.

                                  23   Dated: April 21, 2023

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                                  25
                                                                                                    VIRGINIA K. DEMARCHI
                                  26                                                                United States Magistrate Judge
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